Case 1:20-bk-10390            Doc 137       Filed 02/18/20 Entered 02/18/20 13:31:52                        Desc Main
                                           Document      Page 1 of 3


                               UNITED ST ATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

     In re:                                                    )   Chapter 11
                                                               )
                                                               )   Case No.: 20-10390 (JEH)
     MURRAY     METALLURGICAL                       COAL       )
     HOLDINGS, LLC, et al,                                     )   Judge John E. Hoffman
                                                               )
                              Debtors1                         )   (Joint Administered)


                     ENTRY OF APPEARANCE AND REQUEST FOR NOTICES

              Please enter our appearance on behalf of Joy Global Underground Mining, LLC and Joy

 Global Conveyors, Inc., in the above-captioned bankruptcy proceedings. I request that copies of

 all notices filed be sent to the undersigned and that the name and address of the undersigned be

 added to the mailing matrix.

                                                        Isl Richard J Parks
                                                        Richard J. Parks
                                                        Ohio Supreme Court ID No. 0003986
                                                        PIETRA GALLO GORDON ALF ANO
                                                        BOSICK & RASP ANTI, LLP
                                                        7 West State Street, Suite 100
                                                        Sharon,PA 16146
                                                        (724) 981-1397
                                                        Fax: (724) 981-1398
                                                        E-mail: rjp@pietragallo.com
                                                        Attorneys for Joy Global Underground Mining, LLC
                                                        and Joy Global .Conveyors, Inc.


 Dated: February 18, 2020

 5117671vl




 1
  The Debtors in these Chapter I I cases, along with the last four ( 4) digits of each Debtor's federal tax identification
 number, if applicable, are: Murray Metallurgical Coal Holdings, LLC (4633); Murray Eagle Mining, LLC (4268);
 Murray Alabama Minerals, LLC (4047); Murray Alabama Coal, LLC (3838); Murray Maple Eagle Coal, LLC (4435);
 and Murray Oak Grove Coal, LLC (4878). The Debtors' primary business address is 46226 National Road, St.
 Clairsville, OH 43950.
Case 1:20-bk-10390           Doc 137        Filed 02/18/20 Entered 02/18/20 13:31:52                      Desc Main
                                           Document      Page 2 of 3


                               UNITED ST ATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF OHIO
                                       WESTERN DIVISION

     In re:                                             ) Chapter 11
                                                        )
                                                        ) Case No.: 20-10390 (JEH)
     MURRAY     METALLURGICAL                      COAL)
     HOLDINGS, LLC, et al,                              ) Judge John E. Hoffman
                                                              )
                                       2
                             Debtors                          ) (Joint Administered)


                               DECLARATION IN LIEU OF AFFIDAVIT

                         Regarding Request to be Added to the Mailing Matrix

              I am the Attorney for Joy Global Underground Mining, LLC and Joy Global Conveyors,

 Inc., creditors in the above-captioned bankruptcy case, and I am authorized by these creditors to

 make the accompanying request for notices.                The new address should be used instead of the

 existing address and added to the matrix. I have reviewed the mailing matrix on file in this case

 and I hereby certify that the request for notices being filed herewith replaces the creditor's address

 listed on the matrix, supersedes and cancels all prior requests for notice by the within named

 creditor, and: Please check the appropriate box

              IRI   that there are no other requests to receive notices on behalf of these creditors, or

              □     that the following prior request(s) for notice by or on behalf of this creditor shall be
                    deleted from the matrix:

                                     Creditor's Name

                                     Creditor's Address

                                     City, State and Zip

 2
  The Debtors in these Chapter 11 cases, along with the last four (4) digits of each Debtor's federal tax identification
 number, if applicable, are: Murray Metallurgical Coal Holdings, LLC (4633); Murray Eagle Mining, LLC (4268);
 Murray Alabama Minerals, LLC (4047); Murray Alabama Coal, LLC (3838); Murray Maple Eagle Coal, LLC (4435);
 and Murray Oak Grove Coal, LLC (4878). The Debtors' primary business address is 46226 National Road, St.
 Clairsville, OH 43950.
Case 1:20-bk-10390     Doc 137    Filed 02/18/20 Entered 02/18/20 13:31:52         Desc Main
                                 Document      Page 3 of 3



        I declare under penalty of perjury that the foregoing is true and correct. Executed on
 February 18, 2020.

                                    Isl Richard .J Parks
                                     Richard J. Parks
                                    Pa. Supreme Court ID No. 0003986
                                    Attorney for Joy Global Underground Mining, LLC and
                                    Joy Global Conveyors, Inc.
